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 1   KEVIN A. DARBY, NVSB# 7670                                      Electronically filed 1/17/2018
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 7
 8                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
 9
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     In re:                                        CASE NO.: BK-N-17-50395-BTB
11                                                 Chapter 13
     KARL A. WOLSKI and
12   KATHLEEN S. WOLSKI,                          OPPOSITION TO MOTION FOR RELIEF
13                                                FROM AUTOMATIC STAY
                   Debtors.
14                                                 Hearing Date:    January 30, 2018
                                                   Hearing Time:    11:00 a.m.
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16
17            KARL A. WOLSKI and KATHLEEN S. WOLSKI, by and through their attorney,

18   TRICIA M. DARBY, ESQ. of DARBY LAW PRACTICE, LTD., hereby oppose MTGLQ

19   INVESTORS, LP’s (the “MTGLQ”) Motion for Relief from Stay filed on December 19, 2017,

20   relating to Debtors’ mortgage for their primary residence located at 1035 Lynn Way, Zephyr

21   Cove, Nevada 89448 as follows:

22            1.   On April 4, 2017, Debtors filed for bankruptcy protection under Chapter 13 of the

23   Bankruptcy Code.

24            2.   Pursuant to Debtors’ Chapter 13 Plan, Debtors agreed to retain real property

25   located at 1035 Lynn Way, Zephyr Cove, Nevada 89448. Debtors’ goal is to obtain a loan

26   modification with MTGLQ. The Debtors are participating in the Mortgage Modification

27   Mediation Program. Debtors request this hearing be continued at least 120 days to allow them

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 1   time to participate in the Chapter 13 mortgage modification mediation program or work out a loan
 2   modification with MTGLQ.
 3          3.      Based on the foregoing, Debtors request this Court continue MTGLQ’s Motion for
 4   Relief from Stay for at least 120 days.
 5                                                      DARBY LAW PRACTICE, LTD.
 6                                                             /s/ Tricia M. Darby
                                                        By: ________________________
 7                                                          TRICIA M. DARBY, ESQ.
 8                                                          4777 Caughlin Parkway
                                                            Reno, Nevada 89519
 9                                                          Attorney for Debtors
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